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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorney for Defendant
     CRYSTAL RUSSO
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. 2:11-CR-00198 MCE
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
16   CRYSTAL RUSSO et al.,           )
                                     )
17                  Defendants.      )     Date: October 25, 2012
                                     )     Time: 9:00 a.m.
18   _______________________________ )     Judge: Hon. Morrison C. England
19
20        IT IS HEREBY STIPULATED AND AGREED between defendant, Crystal Russo,
21   through her attorney, Timothy Zindel, and plaintiff, United States of
22   America, through its attorney, Daniel S. McConkie, that the status
23   conference as to defendant Russo, scheduled for October 25, 2012, may be
24   continued to January 10, 2013, at 9:00 a.m.
25        Ms. Russo and counsel are awaiting additional audio recordings the
26   government has promised to provide in discovery.         Those recordings will
27   determine whether further investigation is needed and will help the
28   parties to resolve the case.
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1    Also, defense counsel will be unavailable from mid-November to mid-
2    December    while   on   medical   leave.      In   order   to   complete   necessary
3    discovery and investigation and to assure continuity of defense counsel,
4    the parties agree that the ends of justice served by this continuance
5    outweigh the best interests of the public and the defendant in a speedy
6    trial and that time under the Speedy Trial Act should be excluded through
7    January 10, 2013, pursuant to 18 U.S.C. § 3161(h)(1)(g) and (h)(7)(a) and
8    (b)(IV).
9
     Respectfully submitted,
10
                                                 DANIEL J. BRODERICK
11                                               Federal Defender
12
     Dated:     October 23, 2012                 /s/ T. Zindel
13                                               TIMOTHY ZINDEL
                                                 Assistant Federal Defender
14                                               Attorney for CRYSTAL RUSSO
15
                                                 BENJAMIN B. WAGNER
16                                               United States Attorney
17
     Dated:     October 23, 2012                 /s/ T. Zindel for D. McConkie
18                                               DANIEL S. McCONKIE
                                                 Assistant U.S. Attorney
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     Stip & Order                             -2-
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1                                       O R D E R
2          The status conference is continued to January 10, 2013, at 9:00 a.m.
3    The Court finds that the ends of justice to be served by a continuance
4    outweigh the best interests of the public and the defendant in a speedy
5    trial, for the reasons stated above.
6          IT IS SO ORDERED.
7
      Dated: October 29, 2012
8
9                                          _____________________________
                                           MORRISON C. ENGLAND, JR.
10
                                           UNITED STATES DISTRICT JUDGE
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     Stip & Order                           -3-
